Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 1 of 27




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


  TERESA LITES, individually and on behalf of all
  others similarly situated,

                Plaintiff,                          Civil No. 1:22-cv-20587-JEM

         v.                                         ORAL ARGUMENT REQUESTED

  AMAZON.COM SERVICES, LLC,

                Defendant.


     DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
                 AND MEMORANDUM OF LAW IN SUPPORT
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 2 of 27




                                                    TABLE OF CONTENTS
  I. INTRODUCTION .................................................................................................................... 1

  II. STANDARD OF REVIEW ...................................................................................................... 3

  III. ARGUMENT ............................................................................................................................ 4

       A. Plaintiff Fails to Allege Plausible Facts to State a Claim that the COBRA Notice
          Cannot be “Understood by the Average Plan Participant,” as Required By
          29 C.F.R. § 2590.606-4(b)(4) ............................................................................................. 4
            1. Plaintiff Alleges that Sections in the COBRA Notice are “Unnecessary,”
               But Nothing Prohibits Notices from Including Additional Accurate Information ....... 5
            2. Plaintiff Fails to Allege Facts to Plead Plausibly that the Challenged Statements
               Cannot be “Understood by the Average Plan Participant” ........................................... 8
            3. Plaintiff Fails to Allege that Statements in the COBRA Notice are Incorrect............ 11
                  a. The Statement in the COBRA Notice Regarding Potential Civil or
                     Criminal Penalties ................................................................................................. 11
                  b. The Statement in the COBRA Notice Regarding Potential IRS Penalties ........... 13
       B. Plaintiff’s Claim That the COBRA Notice Violates COBRA Regulations by
          Not Naming the “Plan Administrator” Should Be Dismissed .......................................... 15
            1. Plaintiff Lacks Article III Standing for her “Plan Administrator” Claim
               Because She Fails to Allege a Concrete Injury and Causation ................................... 16
            2. Plaintiff Fails to Allege Plausible Facts to State a Claim that the COBRA
               Notice Does Not Name the Party Required By 29 C.F.R. § 2590.606-4(b)(4)(i) ...... 17
  IV. CONCLUSION ....................................................................................................................... 20




                                                                       ii
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 3 of 27




                                                 TABLE OF AUTHORITIES

  Cases                                                                                                                           Page(s)

  Alexandra H. v. Oxford Health Ins. Inc. Freedom Access Plan,
    833 F.3d 1299 (11th Cir. 2016) ................................................................................................. 13

  Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................... 3

  BioHealth Med. Lab., Inc. v. Cigna Health & Life Ins. Co.,
    706 F. App’x 521 (11th Cir. 2017) ............................................................................................ 13

  Bryant v. Wal-Mart Stores,
    No. 16-24818, 2020 WL 4333452 (S.D. Fla. July 15, 2020) .............................................. 16, 17

  Carter v. Sw. Airlines Co. Bd. of Trs.,
   No. 8:20-CV-1381, 2020 WL 7334504 (M.D. Fla. Dec. 14, 2020) .................................... 18, 19

  City of Chi. v. Envtl. Def. Fund,
    511 U.S. 328 (1994) .................................................................................................................. 20

  Comm’r v. Keystone Consol. Indus., Inc.,
   508 U.S. 152 (1993) .................................................................................................................. 10

  Frankenmuth Mut. Ins. Co. v. Wal-Mart Assocs.’ Health & Welfare Plan,
    182 F. Supp. 2d 612 (E.D. Mich. 2002) .................................................................................... 13

  Furnes v. Reeves,
   362 F.3d 702 (11th Cir. 2004), abrogated on other grounds
   by Lozano v. Montoya Alvarez, 572 U.S. 1, 10 (2014).............................................................. 19

  Green v. FCA US LLC,
   No. 20-13079, 2021 WL 1750118 (E.D. Mich. May 4, 2021) ...................................... 12, 13, 17

  Guerrero v. Target Corp.,
   889 F.Supp.2d 1348 (S.D. Fla. 2012) .......................................................................................... 3

  Harris v. Ivax Corp.,
   182 F.3d 799 (11th Cir. 1999) ..................................................................................................... 1

  Mahoney v. Nokia, Inc.,
   444 F. Supp. 2d 1246 (M.D. Fla. 2006), aff’d, 236 F. App’x 574 (11th Cir. 2007).................. 10

  Marty v. Anheuser-Busch Cos., LLC,
   43 F.Supp.3d 1333 (S.D. Fla. 2014) ............................................................................................ 4


                                                                      iii
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 4 of 27




  McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc.,
   851 F.3d 1076 (11th Cir. 2017) ................................................................................................. 19

  Simpson v. Sanderson Farms, Inc.,
    744 F.3d 702 (11th Cir. 2014) ..................................................................................................... 3

  Snow v. DirecTV, Inc.,
    450 F.3d 1314 (11th Cir. 2006) ................................................................................................... 3

  Spokeo, Inc. v. Robins,
    136 S. Ct. 1540 (2016)......................................................................................................... 16, 17

  Vazquez v. Marriott Int’l, Inc.,
   No. 8:17-CV-00116, 2018 WL 3860217 (M.D. Fla. Aug. 7, 2018)............................................ 8

  Wilson v. Sw. Bell Tel. Co.,
   55 F.3d 399 (8th Cir. 1995) ......................................................................................................... 9


  Federal Statutes

  18 U.S.C. § 1027 ........................................................................................................................... 12

  26 U.S.C. § 6055(b)(1)(B)(i) ........................................................................................................ 13

  29 U.S.C. § 1002(16)(A)............................................................................................................... 19

  29 U.S.C. § 1022(a) ........................................................................................................................ 9

  29 U.S.C. § 1166(a) ...................................................................................................................... 16


  State Statutes

  Ariz. Rev. Stat. Ann. § 20-466.03................................................................................................... 7

  Cal. Ins. Code § 1879.2................................................................................................................... 7

  Fla. Stat. Ann. § 817.234 ................................................................................................................ 7

  Wash. Rev. Code Ann. § 48.135.080.............................................................................................. 7




                                                                        iv
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 5 of 27




  Federal Rules

  Fed. R. Civ. P. 12(b)(1)........................................................................................................... 1, 2, 3

  Fed. R. Civ. P. 12(b)(6)..................................................................................................... 1, 2, 3, 15


  Federal Regulations

  26 C.F.R. § 301.6724-1(e).......................................................................................................14, 15

  29 C.F.R. § 2520.102-2........................................................................................................... 10, 11

  29 C.F.R. § 2590.606-4(g) .......................................................................................................... 5, 6

  Treas. Reg. § 1.6055-1(h)(2)......................................................................................................... 13

  Treas. Reg. § 301.6724-1(e) ................................................................................................... 13, 14


  Other Authorities

  FAQs on COBRA Continuation Health Coverage for Workers,
   https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
   center/faqs/cobra-continuation-health-coverage-consumer.pdf ................................................11

  Federal Employees Health Benefits Program, Health Benefits Election Form,
    https://www.opm.gov/forms/pdf_fill/sf2809.pdf (Nov. 2019).....................................................8

  Form W-9, https://www.irs.gov/pub/irs-pdf/fw9.pdf....................................................................14

  Model Election Notice,
   https://www.dol.gov/agencies/ebsa/laws-and-regulations/laws/cobra ...................................... 20

  State Fraud Warnings,
    https://www.grinnellmutual.com/claims/report-a-claim/State-Fraud-Warning ..........................6

  U.S. Department of Education, Free Application for Federal Student Aid,
   https://studentaid.gov/sites/default/files/2022-23-fafsa-draft.pdf ...............................................8




                                                                      v
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 6 of 27




         Pursuant to Federal Rules of Civil Procedure 12(b)(1) and (b)(6), Defendant Amazon.com

  Services LLC (“Amazon”) moves to dismiss Plaintiff’s Amended Class Action Complaint (Dkt.

  No. 19) (the “Amended Complaint” or “Am. Compl.”).

                                        I.    INTRODUCTION

         This case, brought nominally by a former Amazon employee who participated in the

  Amazon Health & Welfare Benefits Plan (the “Plan”), involves a notice1 that Plaintiff received

  advising her of rights to continued health care coverage under the Consolidated Omnibus Budget

  Reconciliation Act of 1985 (“COBRA”) after her employment with Amazon terminated in January

  2019. See Am. Compl. ¶¶ 59-65. This case is but one of dozens of complaints filed in the past

  several years that are all substantially similar—all filed against large companies, alleging technical

  defects in COBRA notices, and seeking statutory penalties under the Employee Retirement Income

  Security Act of 1974, as amended (“ERISA”). Indeed, this case is the third to be filed against

  Amazon, each of which filed by different plaintiffs’ counsel yet including the exact same claims.2

         Plaintiff initiated this case with a complaint alleging that the COBRA Notice she received

  violated COBRA regulations in two discrete ways: (1) that the Notice contains “unnecessary”

  information that federal regulations do not require—comprising a handful of sentences advising

  participants that the information they provide in electing COBRA must be truthful, and that they



  1
    The notice that Plaintiff received in or around January 2019 advising her of her COBRA rights
  is referred to herein as the “COBRA Notice” or the “Notice.” A copy of the Notice is attached
  hereto as Exhibit A, which the Court may properly consider at this stage because it is discussed at
  length (and indeed quoted) in Plaintiff’s Amended Complaint. See Harris v. Ivax Corp., 182 F.3d
  799, 802 n.2 (11th Cir. 1999) (“[A] document central to the complaint that the defense appends to
  its motion to dismiss is also properly considered, provided that its contents are not in dispute.”).
  2
    The two prior cases filed against Amazon were Ousley v. Amazon Corporate, LLC, No. 8:20-cv-
  00701 (S.D. Fla., filed Mar. 25, 2020) and Kendall v. Amazon Corporate, LLC, No. 3:20-cv-02493
  (D.S.C., filed June 30, 2020). Both cases were dismissed with prejudice shortly after they were
  filed.


                                                    1
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 7 of 27




  must provide an accurate social security number; and (2) that the COBRA Notice fails to identify

  the “Plan Administrator,” which is a defined term under ERISA. See Am. Compl. ¶¶ 74-88, 99-

  102. In response, Amazon filed a Motion to Dismiss, providing reasons why Plaintiff’s complaint

  should be dismissed under Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1) for failing to

  state a claim and for lack of Article III standing, respectively. See generally Mot. to Dismiss.

  Tellingly, rather than oppose the Motion, Plaintiff filed her Amended Complaint in an attempt to

  shore up her deficient allegations. Plaintiff’s attempt is unavailing—each of the deficiencies

  discussed in Defendant’s Motion to Dismiss persists in Plaintiff’s Amended Complaint.

         First, Plaintiff still fails to allege plausibly that “warnings” in the COBRA Notice about

  potential civil or criminal penalties for knowingly providing incomplete or inaccurate information

  in applying for COBRA, and about IRS penalties for submitting an inaccurate tax identification

  number, violate COBRA and its implementing regulations. Indeed, COBRA and its implementing

  regulations prescribe the minimum amount of information to be included in a COBRA election

  notice, and nothing prohibits a plan from including more information about participants’ COBRA

  rights and obligations than the law requires. Moreover, “warnings” like the sentences that Plaintiff

  challenges are commonplace—in fact, dozens of states require such warnings in different

  insurance forms like applications and claim forms—rendering Plaintiff’s allegations regarding her

  purported apprehension at the warnings and Amazon’s motivations utterly implausible.

  Additionally, Plaintiff does not—and cannot—allege that the supposedly “unnecessary”

  information is incorrect. And she does not state any plausible facts to allege that words in the

  sentences at issue are “complex,” filled with “technical jargon,” or otherwise obfuscate the purpose

  of the COBRA Notice, which are the elements necessary to state a plausible claim that a COBRA

  notice is not written in a manner calculated to be understood by the average plan participant.




                                                   2
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 8 of 27




         Second, Plaintiff’s allegation that the COBRA Notice does not identify the “Plan

  Administrator” fails to state a claim for a violation of COBRA or its implementing regulations,

  because neither authority requires that a COBRA notice identify the “Plan Administrator.”

  A COBRA notice must identify the name and contact information for “the party responsible under

  the plan for the administration of continuation coverage [COBRA] benefits,” which Amazon

  undisputedly did. And even if Plaintiff’s allegation had merit (which it does not), she has failed

  to allege facts to show that she has standing under Article III with respect to this claim.

         Despite Plaintiff’s attempt to replead her claims, the Amended Complaint remains deficient

  in multiple respects. Accordingly, the Court should grant Amazon’s instant Motion and dismiss

  the Amended Complaint in its entirety.

                                 II.   STANDARD OF REVIEW

         To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead “a claim to relief

  that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A plaintiff

  need not plead ‘detailed factual allegations,’ but he must demonstrate ‘more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not do.’” Simpson

  v. Sanderson Farms, Inc., 744 F.3d 702, 708 (11th Cir. 2014) (quoting Twombly, 550 U.S. at 555).

  While the Court must accept Plaintiff’s well-pleaded facts as true, “conclusory allegations,

  unwarranted deductions of facts or legal conclusions masquerading as facts will not prevent

  dismissal.” Snow v. DirecTV, Inc., 450 F.3d 1314, 1320 (11th Cir. 2006) (citations omitted).

         “A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) encompasses

  both challenges based on the court’s lack of federal subject matter jurisdiction and challenges

  based on lack of standing.” Guerrero v. Target Corp., 889 F. Supp. 2d 1348, 1352 (S.D. Fla.

  2012). As federal courts can only adjudicate actual cases or controversies, “Article III standing is




                                                    3
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 9 of 27




  a jurisdictional requirement that cannot be waived and, as such, may be brought up at any time in

  the proceeding.” Marty v. Anheuser-Busch Cos., LLC, 43 F. Supp. 3d 1333, 1339 (S.D. Fla. 2014).

                                      III.    ARGUMENT

  A.     Plaintiff Fails to Allege Plausible Facts to State a Claim that the COBRA Notice
         Cannot be “Understood by the Average Plan Participant,” as Required By 29 C.F.R.
         § 2590.606-4(b)(4)

         Plaintiff alleges that the COBRA Notice is not “written in a manner calculated to be

  understood by the average plan participant” as required under the COBRA implementing

  regulations at 29 C.F.R. § 2590.606-4(b)(4). See Am. Compl. ¶¶ 74-88. Specifically, she

  complains about two sections in the COBRA Notice.

         First, Plaintiff alleges that the COBRA Notice “contains an ominous warning suggesting

  the submission of ‘incomplete’ information when electing COBRA may result in criminal or civil

  penalties.” See Am. Compl. ¶ 8. Plaintiff is referring to the following paragraph from page 8 of

  the COBRA Notice, a copy of which is attached hereto as Exhibit A:

         You certify that all information is complete and accurate to the best of your
         knowledge. Please note that any person who knowingly provides materially false,
         incomplete, or misleading information is considered to have committed an act to
         defraud or deceive the Plan Sponsor(s). The filing of any application for insurance
         or other claim for benefits based on false, misleading, or incomplete information is
         a fraudulent act and may result in criminal or civil penalties.

  Ex. A at 8; Am. Compl. ¶ 8.

         Second, Plaintiff alleges that the COBRA Notice “contains an unnecessary warning of a

  possible ‘$50 penalty from the IRS for each failure to provide an accurate tax identification number

  for a covered individual.’” See Am. Compl. ¶ 11. The paragraph that Plaintiff references appears

  on page 7 of the COBRA Notice, and provides:

         Note: A valid Social Security Number (SSN) or individual tax identification
         number (ITIN) is required to notify carriers of your COBRA coverage. In addition,
         we are required to provide the Internal Revenue Service (IRS) with a social security
         number (SSN) or individual taxpayer identification number (ITIN) for all


                                                   4
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 10 of 27




          individuals enrolled in coverage. You may be subject to a $50 penalty from the
          IRS for each failure to provide an accurate tax identification number for a covered
          individual.

   Ex. A at 7.

          Plaintiff’s Amended Complaint still fails to state plausible facts to allege that the COBRA

   Notice is not “written in a manner calculated to be understood by the average plan participant,”

   and thus violates 29 C.F.R. § 2590.606-4(b)(4), because: (1) COBRA regulations and the

   Department of Labor (“DOL”) model notice cited in the Amended Complaint only provide the

   minimum amount of information required for a notice to comply, and neither prohibits a plan from

   adding information to help explain COBRA rights and obligations to plan participants; (2) Plaintiff

   does not allege plausibly that the statements in the COBRA Notice use technical jargon or complex

   sentences, such that they would prevent such statements from being “understood by the average

   plan participant” under an objective standard; and (3) the two sections of the COBRA Notice that

   Plaintiff cites in her Amended Complaint are accurate statements of the law.

          1.      Plaintiff Alleges that Sections in the COBRA Notice are “Unnecessary,” But
                  Nothing Prohibits Notices from Including Additional Accurate Information

          Plaintiff claims that “Defendant could have used the Model Notice but deliberately chose

   to create its own notice, presumably to deter qualified employees from electing continuation

   coverage.” See Am. Compl. ¶ 40. Plaintiff’s argument fails, as a matter of law, for several reasons.

          First, what Plaintiff calls the DOL “Model Notice” is merely that—a “model” notice that

   plans may use if they choose to do so. Even Plaintiff does not allege that plans are required to use

   the DOL “model notice.” Indeed, COBRA regulations provide that the model notice is “intended

   to assist administrators in discharging the notice obligations,” and “[u]se of the model notice is

   not mandatory.” See 29 C.F.R. § 2590.606-4(g) (emphasis added).




                                                    5
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 11 of 27




          Second, putting aside that Plaintiff is asking the Court to evaluate the COBRA Notice under

   a subjective standard that takes into account Amazon’s supposed motives—rather than an

   objective standard that even Plaintiff admits should apply (see Section III.A.2 infra)—Plaintiff

   fails to allege that, as a matter of law, the Notice violates COBRA by including additional

   information to supplement what the DOL’s model COBRA notice provides.3

          To the contrary, COBRA regulations provide plainly that administrators should—and

   indeed “must”—add information beyond the minimum stated in the DOL model notice. See 29

   C.F.R. § 2590.606-4(g) (“In order to use the model notice, administrators must appropriately add

   relevant information where indicated in the model notice, select among alternative language and

   supplement the model notice to reflect applicable plan provisions.”) (emphasis added). Even

   accepting Plaintiff’s opinion that the few sentences about civil or criminal penalties for knowing

   misrepresentations as to who is eligible for COBRA coverage and the $50 IRS penalty for

   providing inaccurate social security numbers are “unnecessary,” Plaintiff’s allegation that the mere

   inclusion of these sections violates COBRA regulations fails as a matter of law.

          Third, the Court need not accept Plaintiff’s opinion that the challenged warnings are

   “unnecessary” because, in multiple similar circumstances, such warnings are required in other

   documents, including insurance documents. Indeed, dozens of states require fraud warnings to be

   included in insurance applications and claim forms.           See, e.g., State Fraud Warnings,

   https://www.grinnellmutual.com/claims/report-a-claim/State-Fraud-Warning           (listing   fraud


   3
     Plaintiff asserts incorrectly that the Model Notice “contains all the required information and
   provides a ‘safe harbor.’” See Am. Compl. ¶ 42. What COBRA regulations actually provide is
   that “[u]se of the model notice, appropriately modified and supplemented, will be deemed to
   satisfy the notice content requirements of paragraph (b)(4) of this section.” See 29 C.F.R. §
   2590.606-4(g) (emphasis added). The COBRA rules actually negate Plaintiff’s contention that
   DOL intended for administrators simply to adopt the model COBRA notice wholesale without
   adding any other information.


                                                    6
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 12 of 27




   warnings required by different states). And at least two states—Arizona and California—provide

   that these warnings are for the “protection” of consumers filing insurance applications or claims.

   See Ariz. Rev. Stat. Ann. § 20-466.03; Cal. Ins. Code § 1879.2.

          In Florida, for instance, insurance claim and application forms must provide that “[a]ny

   person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement

   of claim or an application containing any false, incomplete, or misleading information is guilty of

   a felony of the third degree.” See Fla. Stat. Ann. § 817.234. Similarly, in Washington, where

   Amazon is headquartered, a state statute provides that “all applications for insurance . . . must

   contain a statement . . . that clearly states in substance the following: ‘[i]t is a crime to knowingly

   provide false, incomplete, or misleading information to an insurance company for the purpose of

   defrauding the company.        Penalties include imprisonment, fines, and denial of insurance

   benefits.’” See Wash. Rev. Code Ann. § 48.135.080. Both of these statements required for

   applications or claim forms are essentially the same as the “warning” that Plaintiff challenges in

   the COBRA Notice. The fact that these statements are required by state law for insurance

   applications and claim forms evinces how commonplace they are in regular commercial activity.

          In other words, Plaintiff’s allegations that the “warning” paragraph on page 8 of the

   COBRA Notice is “unnecessary,” that Amazon “discourages participation by warning recipients

   of potential criminal and civil liability for a crime or civil wrong that simply doesn’t exist,” and

   that Amazon “deliberately included threatening language to deter people from electing to continue

   their benefits,” see Am. Compl. ¶¶ 11, 20, 79, are utterly implausible. To the contrary, such

   warnings “protect” consumers like Plaintiff.

          Further, it is implausible that Plaintiff or anyone else was dissuaded from electing COBRA

   because of such a warning, given that such warnings are ubiquitous in applications that people




                                                     7
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 13 of 27




   submit every day. For instance, in addition to the state requirements discussed above, the Health

   Benefits Election Form for the Federal Employees Health Benefits Program includes a warning

   that if information provided in the form “indicates a possible violation of civil or criminal law, it

   may be shared and verified with an appropriate Federal, state, or local law enforcement agency.”

   See https://www.opm.gov/forms/pdf_fill/sf2809.pdf at 5 (Nov. 2019).            Similarly, the Free

   Application for Federal Student Aid (“FAFSA”), which is published by the U.S. Department of

   Education and filled out by undergraduate and graduate students and/or their parents every year

   for financial aid, warns applicants that “[i]f you purposely give false or misleading information,

   you    may     be    fined    up    to   $20,000,     sent    to   prison,    or   both.”        See

   https://studentaid.gov/sites/default/files/2022-23-fafsa-draft.pdf. Given the prevalence of fraud

   warnings in any number of economic activities, Plaintiff’s allegation that such a warning affected

   her decision to elect COBRA is not plausible.

          2.      Plaintiff Fails to Allege Facts to Plead Plausibly that the Challenged
                  Statements Cannot be “Understood by the Average Plan Participant”

          Plaintiff also fails to allege sufficient facts to claim plausibly that the COBRA Notice

   cannot be “understood by the average plan participant.” At most, Plaintiff alleges that the COBRA

   Notice violates COBRA regulations because it “creates an artificial fear of criminal prosecution

   or civil liability.” See Am. Compl. ¶ 8. But, tellingly, Plaintiff does not—and cannot—cite any

   statutory or regulatory support for this proposition, which she instead makes up of whole cloth.

          Plaintiff admits that the legal question of whether a COBRA notice can be “understood by

   the average plan participant” “has been interpreted as an objective standard rather than requiring

   an inquiry into the subjective perception of the individual plan participants.” See Am. Compl.

   ¶ 74 (emphasis added). Indeed, courts apply an objective standard to determine whether a notice

   is “written in a manner calculated to be understood by the average plan participant.” See Vazquez



                                                    8
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 14 of 27




   v. Marriott Int’l, Inc., No. 8:17-CV-00116, 2018 WL 3860217, at *4 (M.D. Fla. Aug. 7, 2018) (the

   “average plan participant” requirement “has been interpreted as ‘an objective standard rather than

   requiring an inquiry into the subjective perception of the individual [plan] participants’”)

   (alteration in original); see also Wilson v. Sw. Bell Tel. Co., 55 F.3d 399, 407 (8th Cir. 1995) (the

   requirement under ERISA that a summary plan description be “written in a manner calculated to

   be understood by the average plan participant” “appears to be an objective standard rather than

   requiring an inquiry into the subjective perception of the individual participants”).

          Plaintiff’s admission that the standard under the COBRA rules is objective renders

   irrelevant her allegations that she was “confused” by the COBRA Notice, see Am. Compl. ¶ 46,

   or that the COBRA Notice “has a chilling effect, discouraging participants from enrolling in

   continuation coverage,” see id. ¶ 44—even accepting these allegations as true for purposes of the

   instant Motion. In evaluating the sufficiency of Plaintiff’s factual allegations, the Court need only

   read challenged sections of the COBRA Notice itself to determine whether Plaintiff has alleged

   plausibly that under an objective standard it cannot be “understood” by an average plan participant.

          While the COBRA regulations do not, themselves, explain specifically how one determines

   whether a notice can be “understood by the average plan participant,” ERISA—into which

   COBRA is incorporated—includes the exact same requirement for summary plan descriptions

   (“SPDs”). See 29 U.S.C. § 1022(a) (providing that an SPD “shall be written in a manner calculated

   to be understood by the average plan participant”). And the SPD regulations detail how a plan

   administrator meets the statutory standard:

          (a) Method of presentation. The summary plan description shall be written in a
          manner calculated to be understood by the average plan participant and shall be
          sufficiently comprehensive to apprise the plan’s participants and beneficiaries of
          their rights and obligations under the plan. In fulfilling these requirements, the plan
          administrator shall exercise considered judgment and discretion by taking into
          account such factors as the level of comprehension and education of typical



                                                    9
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 15 of 27




          participants in the plan and the complexity of the terms of the plan. Consideration
          of these factors will usually require the limitation or elimination of technical
          jargon and of long, complex sentences, the use of clarifying examples and
          illustrations, the use of clear cross references and a table of contents.

   29 C.F.R. § 2520.102-2(a) (emphasis added). Because ERISA (of which COBRA is a part)

   requires that both SPDs and COBRA notices be “written in a manner calculated to be understood

   by the average plan participant,” a regulation interpreting that standard for purposes of a SPD is

   persuasive authority regarding how to interpret and apply the same standard to a COBRA notice.4

   See, e.g., Comm’r v. Keystone Consol. Indus., Inc., 508 U.S. 152, 159 (1993) (“It is a ‘normal rule

   of statutory construction,’ that ‘identical words used in different parts of the same act are intended

   to have the same meaning.’”) (internal citations omitted); see also Mahoney v. Nokia, Inc., 444 F.

   Supp. 2d 1246, 1257–58 (M.D. Fla. 2006), aff’d, 236 F. App’x 574 (11th Cir. 2007) (observing

   that “courts examine and interpret regulations in the same manner as they interpret statutes”).

          In a nod to the analogous SPD standards, Plaintiff includes in her Amended Complaint the

   bald allegation that “Defendant’s COBRA Notice contains ‘technical jargon’ and/or prohibited

   ‘complex sentences,’ including as to criminal and civil penalties.” See Am. Compl. ¶ 49. But her

   allegation is not supported by any facts whatsoever. For instance, Plaintiff fails to allege what

   language in the statements about potential civil, criminal, or monetary penalties would constitute

   “technical jargon,” or which sentences in the statements are allegedly “complex.” See 29 C.F.R.

   § 2520.102-2(a). Nor could she—the Court need only read the statements themselves to conclude

   that they are written in clear sentences and with non-technical language.



   4
      Plaintiff alleges, similarly, that “[p]ursuant to ERISA, notices that are drafted in a manner
   calculated to be understood by the average plan participant ‘will usually require the limitation or
   elimination of technical jargon and of long, complex sentences, the use of clarifying examples and
   illustrations, the use of clear cross references and a table of contents.’” See Am. Compl. ¶ 16
   (citing 29 C.F.R. § 2520.102-2).


                                                    10
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 16 of 27




          Plaintiff also faults the COBRA Notice for allegedly not including “a single clarifying

   example and/or illustration demonstrating how or why plan participants risk criminal penalties

   and/or IRS fines by submitting incomplete information,” and she also alleges that “there are no

   examples or illustrations of what constitutes ‘false, misleading or incomplete’ information.” See

   Am. Compl. ¶¶ 17, 47-48, 95. Plaintiff is incorrect. A mere reading of the statements about

   potential civil, criminal, or monetary penalties in the COBRA Notice that she challenges shows

   what actions would cause a Plan participant to potentially incur such penalties—i.e., knowingly

   providing false, incomplete, or misleading information when applying for COBRA, or failing to

   provide an accurate tax identification number. See Ex. A at 7-8; 29 C.F.R. § 2520.102-2(a).

   Plaintiff fails to plead plausibly that any examples beyond what the COBRA Notice already

   provides would be necessary for an average plan participant to understand these statements.

          3.         Plaintiff Fails to Allege that Statements in the COBRA Notice are Incorrect

          Plaintiff’s Amended Complaint is devoid of facts showing that the handful of challenged

   sections in the COBRA Notice (related to civil or criminal penalties or the $50 IRS penalty) are

   incorrect or inaccurate statements of the law. Nor could she allege such facts plausibly.

                     a.      The Statement in the COBRA Notice Regarding Potential Civil or
                             Criminal Penalties

          DOL guidance provides expressly that COBRA benefits may be terminated if an individual

   commits an act of fraud. See, e.g., FAQs on COBRA Continuation Health Coverage for Workers,

   available    at        https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

   center/faqs/cobra-continuation-health-coverage-consumer.pdf (providing that a group health plan

   may terminate COBRA coverage early in several circumstances, including “fraud”). In addition,

   18 U.S.C. § 1027 provides potential penalties for one who “makes any false statement or

   representation of fact, knowing it to be false, or knowingly conceals, covers up, or fails to disclose



                                                      11
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 17 of 27




   any fact the disclosure of which is required by such title or is necessary to verify, explain, clarify

   or check for accuracy and completeness any report required by such title to be published or any

   information required by such title to be certified.” That is exactly what the COBRA Notice advises

   participants of when it explains potential repercussions for “any person who knowingly provides

   materially false, incomplete, or misleading information” in their application. See Ex. A at 8 (italics

   in original, bold added).5

           In opposition Plaintiff may cite the Green v. FCA USA decision from the Eastern District

   of Michigan in which the court—after determining the issue a “close call”—denied FCA’s motion

   to dismiss this aspect of the complaint, noting that the statement that “a participant could be subject

   to a penalty for providing incomplete information” is “not a strictly accurate statement of the law.”6

   See Green v. FCA US LLC, No. 20-13079, 2021 WL 1750118, at *5 (E.D. Mich. May 4, 2021),

   reconsid. denied, No. 20-13079 (E.D. Mich. July 19, 2021), ECF No. 26. Respectfully, however,

   the Green decision is erroneous. Among other things, the court considered one sentence in



   5
    In her Amended Complaint, Plaintiff added two paragraphs attempting to allege that the COBRA
   Notice differs from 18 U.S.C. § 1027 because “the language in Defendant’s COBRA Notice
   removes ‘intent’ as an element of the crime.” See Am. Compl. ¶¶ 89-90. This allegation is plainly
   wrong, as the COBRA Notice states that “knowingly” providing “materially false, incomplete, or
   misleading information” may subject one to civil or criminal penalties. See Ex. A at 8. Plaintiff
   also alleges—without citing any authority—that “18 U.S.C. § 1027 is traditionally used to
   prosecute employers and fiduciaries of employee welfare and pension fund[s] for fraud and
   administrative abuses – not participants electing to continue their benefits under federal law.” Am.
   Compl. ¶ 90. The Court need not accept this allegation, given that the statute refers expressly to a
   general “[w]hoever” as the subject for potential penalties, rather than “employers and fiduciaries”
   specifically. Moreover, even if Plaintiff were correct as to the types of individuals “traditionally”
   prosecuted under § 1027, that would not change the fact that a participant could be prosecuted
   under the section’s plain language, meaning that the statement in the COBRA Notice is correct.
   6
     The same court noted in a subsequent hearing of the plaintiffs’ claims (which were identical to
   the claims Plaintiff raises here) that “this basic claim is not especially compelling and is certainly
   I think, in looking at this globally, it is – the theory is certainly postured for a claim that is not at
   all certain to prevail at this point.” Hr’g Tr. at 8:2-17, Green v. FCA US LLC, No. 20-13079 (E.D.
   Mich. Mar. 31, 2022), ECF No. 39.


                                                      12
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 18 of 27




   isolation, without regard to the remainder of the paragraph in which it was situated (which is

   identical to the paragraph on page 8 of the COBRA Notice), which plainly provides that it is only

   by knowingly giving “materially false, incomplete, or misleading information” that one would risk

   penalties. See Ex. A at 8. By applying this isolated reading without context, the court deviated

   from the well-settled rule that under ERISA (into which COBRA is incorporated) plan documents

   “must be read in [their] entirety.” See, e.g., Frankenmuth Mut. Ins. Co. v. Wal-Mart Assocs.’

   Health & Welfare Plan, 182 F. Supp. 2d 612, 617 (E.D. Mich. 2002); see also BioHealth Med.

   Lab., Inc. v. Cigna Health & Life Ins. Co., 706 F. App’x 521, 524 (11th Cir. 2017) (in evaluating

   an ERISA plan document, the court must “read[] the words in the context of the entire agreement

   and seek[] to give meaning to every term” (citing Alexandra H. v. Oxford Health Ins. Inc. Freedom

   Access Plan, 833 F.3d 1299, 1306-07 (11th Cir. 2016)).

          Additionally, the court in Green—although acknowledging that a COBRA Notice must be

   evaluated under an objective standard—effectively undermined that standard by concluding that

   the adequacy of the Notice should be evaluated taking into account the plaintiff’s subjective

   understanding of the Notice. That is simply incorrect as a matter of law.

                  b.     The Statement in the COBRA Notice Regarding Potential IRS
                         Penalties

          Similarly, the statement about IRS penalties for a participant’s failure to provide a social

   security number or individual taxpayer identification number (collectively, “TINs”) is accurate.

   Under the Internal Revenue Code, an employer sponsoring a benefit plan must report the TINs of

   its employees and their dependents who are enrolled in its self-insured health plan. See 26 U.S.C.

   § 6055(b)(1)(B)(i). If the employer does not report the TIN, significant IRS penalties can apply

   unless it solicits the TIN at certain intervals. See Treas. Reg. § 301.6724-1(e) (describing the

   “initial” and “annual” TIN solicitations that reporting entities must make); Prop. Treas. Reg. §



                                                  13
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 19 of 27




   1.6055-1(h)(2). And if an employer solicits TINs by mail, the employer must send a letter advising

   the individual of the possibility that a failure to provide a correct TIN can result in a $50 penalty

   from the IRS. See Treas. Reg. § 301.6724-1(e)(2)(i) (providing that “[a] mail solicitation must

   include—(A) A letter informing the payee that he or she must provide his or her TIN and that he

   or she is subject to a $50 penalty imposed by the Internal Revenue Service under section 6723 if

   he or she fails to furnish his or her TIN”) (emphasis added).

          An employer’s mail solicitation also must include a Form W-9 (Request for Taxpayer

   Identification Number and Certification) or a substitute Form W-9. See id. The Form W-9

   provides directions informing that “[i]f you fail to furnish your correct TIN to a requester, you are

   subject to a penalty of $50 for each such failure unless your failure is due to reasonable cause and

   not to willful neglect.”7 The COBRA Notice clearly serves as one of the required TIN solicitations,

   and by informing qualified beneficiaries of this $50 penalty, the COBRA Notice provides the same

   information as participants would receive in employer solicitation letters and as it appears in

   instructions for federally-mandated IRS forms.

          Plaintiff added several paragraphs to her Amended Complaint related to her $50 IRS

   penalty allegation—paragraphs 96-98—none of which should alter the conclusion that this

   allegation fails as a matter of law. Most importantly, Plaintiff does not dispute that the statement

   in the COBRA Notice is accurate—nor could she, because the COBRA Notice tracks the Treasury

   Regulation. See 26 C.F.R. § 301.6724-1(e)(2)(i)(A). Instead, Plaintiff asserts that the COBRA

   Notice she received “did not include a return envelope,” see Am. Compl. ¶ 98, which allegedly

   violates the Treasury Regulations. Even if true, this allegation is a red herring that has nothing



   7
    The Form W-9 and accompanying instructions are available at https://www.irs.gov/pub/irs-
   pdf/fw9.pdf.


                                                    14
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 20 of 27




   whatsoever to do with Plaintiff’s claims in this case, and the question of whether the COBRA

   Notice complies with COBRA regulations.                The Treasury Regulation at issue provides

   requirements for an employer to satisfy in order to demonstrate that the employer had “reasonable

   cause” for providing an incorrect employee TIN to the IRS. See 26 C.F.R. § 301.6724-1(e)(1). In

   other words, whether Plaintiff received a COBRA Notice without a return envelope (even if true)

   would only be relevant (to Amazon—not Plaintiff) if (1) Plaintiff hypothetically provided an

   incorrect TIN to Amazon and (2) the IRS attempted to assess a penalty on Amazon. None of that

   would change the fact that (as Plaintiff does not dispute) the statement about a $50 IRS penalty in

   the COBRA Notice is accurate, and therefore the statement complies with COBRA regulations.

          Because the statements about civil or criminal penalties for knowingly submitting

   fraudulent information when applying for COBRA coverage and about IRS statutory penalties are

   correct statements of participants’ legal obligations, Plaintiff has failed to allege plausibly that the

   statements cannot be “understood by the average plan participant” in violation of the COBRA

   disclosure regulations. See 29 C.F.R. § 2590.606-4(b)(4).

   B.     Plaintiff’s Claim That the COBRA Notice Violates COBRA Regulations by Not
          Naming the “Plan Administrator” Should Be Dismissed

          Plaintiff also alleges that the COBRA Notice violates the disclosure regulation because it

   “does not identify the Plan Administrator.” See Am. Compl. ¶¶ 26, 99-102. This claim should be

   dismissed for lack of Article III standing, as several courts addressing the issue have held.

   Alternatively, it should be dismissed under Rule 12(b)(6) based on the simple fact that the COBRA

   regulation Plaintiff cites does not require naming the plan administrator. On this issue, the U.S.

   Department of Labor has expressly rejected Plaintiff’s position.




                                                     15
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 21 of 27




          1.      Plaintiff Lacks Article III Standing for her “Plan Administrator” Claim
                  Because She Fails to Allege a Concrete Injury and Causation

          The Supreme Court recognizes that the “irreducible constitutional minimum” for standing

   under Article III requires that “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is

   fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by

   a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised

   (May 24, 2016). Plaintiff, “as the party invoking federal jurisdiction, bears the burden of

   establishing these elements.” Id. And “[w]here, as here, a case is at the pleading stage, the plaintiff

   must ‘clearly . . . allege facts demonstrating’ each element.” Id. (internal citation omitted).

          Plaintiff does not allege that she suffered a tangible injury (such as loss of insurance

   coverage, or medical expenses that she needed to pay out-of-pocket) because the COBRA Notice

   did not name the “Plan Administrator.” Rather, she claims more broadly that “Defendant’s

   deficient COBRA Notice caused Plaintiff an informational injury when Defendant failed to

   provide her with information to which she was entitled by statute, namely a compliant COBRA

   election notice containing all information required by 29 C.F.R. § 2590.606-4(b)(4) and 29 U.S.C.

   § 1166(a).” Am. Compl. ¶ 57. Courts have already considered and rejected that Plaintiff’s

   “informational injury” theory confers Article III standing.

          In Bryant v. Wal-Mart Stores, Inc., No. 16-24818, 2020 WL 4333452 (S.D. Fla. July 15,

   2020), the magistrate judge issued a report and recommendation denying the plaintiffs’ motion for

   class certification. One of the plaintiffs’ allegations in that case was, like Plaintiff alleges here,

   that the plaintiffs received a COBRA notice that did not comply with ERISA because it did not

   include contact information for the “plan administrator.” See id. at *16. The judge concluded that

   the plaintiffs lacked standing with respect to this allegation because “there is simply no evidence

   that this supposed deficiency interfered in any way with their right or ability to elect [COBRA].”



                                                     16
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 22 of 27




   Id.; see also Spokeo, Inc., 136 S. Ct. at 1549 (a plaintiff could not satisfy Article III’s injury in fact

   requirement by alleging a “bare procedural violation, divorced from any concrete harm”).

            In Green, the district court recently dismissed this exact same claim (i.e., that a COBRA

   notice violated COBRA regulations for not identifying the “Plan Administrator”) for lack of

   standing. See Green, 2021 WL 1750118, at *4. The court in Green ruled that the plaintiffs lacked

   standing because they “have failed to allege an injury in fact” and “have not alleged that they were

   harmed by this alleged misinformation.” Id. For instance, “they have not alleged that they

   attempted to enroll or had questions and could not contact the administrator of the plan,” and

   “[a]ssuming that the notice did not correctly identify the plan administrator, and the statute was

   violated, Plaintiffs have not asserted that they suffered any adverse consequences as a result.” Id.

            Here, Plaintiff’s allegations are nearly identical to those alleged by the plaintiffs in Bryant

   and Green, and Plaintiff’s allegations are deficient for the same reasons as courts found in those

   cases.    Plaintiff does not allege that the COBRA Notice’s identification of the “COBRA

   Administrator”—as opposed to the “Plan Administrator”—interfered with her ability to elect

   COBRA. Nor does Plaintiff allege that she had questions about electing COBRA but was unable

   to reach someone to get her questions answered. And Plaintiff does not allege that, but for the

   omission of the “Plan Administrator’s” contact information, Plaintiff would have elected COBRA.

   Accordingly, Plaintiff’s claim regarding Defendant’s alleged failure to name and provide contact

   information for the “Plan Administrator” in the COBRA Notice should be dismissed for lack of

   Article III standing.

            2.     Plaintiff Fails to Allege Plausible Facts to State a Claim that the COBRA
                   Notice Does Not Name the Party Required By 29 C.F.R. § 2590.606-4(b)(4)(i)

            Even if Plaintiff had pled plausible facts for standing, her claim fails as a matter of law.

   Put simply, she is trying to graft a new requirement onto the COBRA regulations that is not there.



                                                      17
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 23 of 27




          The governing regulations provide that a COBRA notice “shall contain . . . [t]he name of

   the plan under which continuation coverage is available; and the name, address and telephone

   number of the party responsible under the plan for the administration of continuation coverage

   benefits.” See 29 C.F.R. § 2590.606-4(b)(4)(i) (emphasis added). Amazon met this requirement

   by providing the required contact information of its COBRA administrator, BenefitConnect, who

   is the party “responsible for COBRA administration,” on page 8 of the COBRA Notice:




   Ex. A at 8. In her Amended Complaint, Plaintiff misleadingly refers to BenefitConnect as a “third-

   party administrator.” See Am. Compl. ¶¶ 99, 101. But from the plain language of the Notice,

   BenefitConnect is identified as the entity “who is responsible for COBRA administration” under

   the Plan, see Ex. A at 8—tracking virtually verbatim the language of the COBRA regulation.

   Accordingly, Plaintiff’s claim fails as a matter of law.

          To attempt to overcome this obvious problem, Plaintiff contends that the regulation

   requires the COBRA Notice to name the “Plan Administrator.” See Am. Compl. ¶¶ 26-27, 101-

   02. But this argument has already been rejected by another court, which concluded that “the plain

   language of the regulation does not support it.” Carter v. Sw. Airlines Co. Bd. of Trs., No. 8:20-

   CV-1381, 2020 WL 7334504, at *6 (M.D. Fla. Dec. 14, 2020). The court in Carter reasoned that

   “the term ‘plan administrator’ does not appear in the provision at issue,” and “[i]t is a well-known

   canon of construction that courts should not insert omitted terms into plainly written text.” Id.

          Further, in rejecting an assertion like Plaintiff’s that COBRA notices must name the “Plan

   Administrator,” the court in Carter favorably cited an amicus brief filed in that case by the United

   States Department of Labor—the federal agency that promulgated the very regulation Plaintiff



                                                    18
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 24 of 27




   alleges that Amazon violated. Id. at *1. The DOL presented multiple reasons why, based on the

   plain language of the regulation and canons of statutory interpretation, “29 C.F.R. § 2590.606-

   4(b)(4)(i) . . . does not require COBRA election notices to include the contact information for plan

   administrators, where a different entity administers the plan’s continuation coverage under

   COBRA.” Br. for Sec’y of Labor as Amicus Curiae, Carter v. Sw. Airlines Co. Bd. of Trs., No.

   8:20-cv-01381 (M.D. Fla. Oct. 5, 2020), ECF No. 29-1 (“DOL Amicus”) at 14.8

            Consistent with the decision in Carter and the DOL Amicus, as a matter of statutory

   construction, the terms “plan administrator” and “party responsible under the plan for the

   administration of continuation coverage benefits” must be interpreted to describe two different

   entities. DOL Amicus, at 5-10. See, e.g., McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc.,

   851 F.3d 1076, 1089 (11th Cir. 2017) (“When Congress uses ‘different language in similar

   sections,’ we should give those words different meanings.”) (citations omitted); Furnes v. Reeves,

   362 F.3d 702, 713 (11th Cir. 2004), abrogated on other grounds by Lozano v. Montoya Alvarez,

   572 U.S. 1, 10 (2014) (“It is a fundamental rule of statutory interpretation that, within an act, the

   same words have the same meanings and different words have different meanings.”).

            The term “administrator” is defined by ERISA. See 29 U.S.C. § 1002(16)(A) (providing

   that “[t]he term ‘administrator’ means—(i) the person specifically so designated by the terms of

   the instrument under which the plan is operated . . . .”); Am. Compl. ¶ 10. But ERISA does not

   provide that the “administrator” must be responsible for administering COBRA benefits. To the

   contrary, because the COBRA regulations under subsection 4(b)(4)(i) do not require a COBRA

   notice to name the “administrator”—but rather the “party responsible under the plan for the

   administration of continuation coverage benefits”—it follows that the entity required to be listed



   8
       A copy of the DOL Amicus is attached as Exhibit B.

                                                    19
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 25 of 27




   on the COBRA notice is the party responsible for the enrollment and administration of COBRA

   benefits. See 29 C.F.R. § 2590.606-4(b)(4)(i). If the DOL had intended to require COBRA notices

   to name the “administrator,” it would have drafted the final regulation to provide that defined term.

   See, e.g., City of Chi. v. Envtl. Def. Fund, 511 U.S. 328, 338 (1994) (“[I]t is generally presumed

   that Congress acts intentionally and purposely when it includes particular language in one section

   of a statute but omits it in another.”) (alteration in original) (internal quotation marks omitted).

          Further, the DOL’s Model Election Notice shows that Amazon’s COBRA Notice is

   compliant with the statute and its implementing regulations. The Model Election Notice at 8,

   available at https://www.dol.gov/agencies/ebsa/laws-and-regulations/laws/cobra, provides if a

   plan participant has questions about COBRA payments, “You may contact [enter appropriate

   contact information, e.g., the Plan Administrator or other party responsible for COBRA

   administration under the Plan] to confirm the correct amount of your first payment” (italics in

   original; bold and underline added for emphasis). If DOL had intended “the party responsible for

   COBRA administration” to mean the “Plan Administrator,” it would not have differentiated

   between the two entities, or given plans the option of identifying one entity or the other in a notice.

          At bottom, subsection 4(b)(4)(i) requires a COBRA notice to name the party responsible

   for administering COBRA benefits, which is exactly what the COBRA Notice provides at page 8.

   Plaintiff therefore has failed to state facts on which to allege plausibly that the COBRA Notice

   violates the regulation, and the Court should dismiss this claim.

                                        IV.    CONCLUSION

          For the foregoing reasons, Amazon respectfully requests that the Court dismiss the

   Amended Complaint in its entirety, with prejudice.




                                                     20
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 26 of 27




                                      REQUEST FOR HEARING

          Due to the importance of the issues raised in this Motion, Amazon respectfully requests

   oral argument on the Motion pursuant to Local Rule 7.1(b). Amazon estimates that oral argument

   will require half an hour for each side.



    Dated: May 11, 2022                           Respectfully submitted,

                                                  s/ Richard C. McCrea, Jr.
                                                  Richard C. McCrea, Jr.
                                                  Florida Bar No. 3351539
                                                  Email: mccrear@gtlaw.com
                                                  GREENBERG TRAURIG, P.A.
                                                  101 E. Kennedy Boulevard Ste. 1900
                                                  Tampa, Florida 33602
                                                  (813) 318-5700 – Telephone
                                                  (813) 318-5900 – Facsimile

                                                  Edward J. Meehan (admitted pro hac vice)
                                                  Email: emeehan@groom.com
                                                  Mark C. Nielsen (admitted pro hac vice)
                                                  Email: mnielsen@groom.com
                                                  Paul J. Rinefierd (admitted pro hac vice)
                                                  Email: prinefierd@groom.com
                                                  GROOM LAW GROUP, CHARTERED
                                                  1701 Pennsylvania Ave., NW, Ste. 1200
                                                  Washington, D.C. 20006
                                                  (202) 857-0620 – Telephone
                                                  (202) 659-4503 – Facsimile

                                                  Counsel for Defendant Amazon.com Services
                                                  LLC




                                                21
Case 1:22-cv-20587-JEM Document 23 Entered on FLSD Docket 05/11/2022 Page 27 of 27




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 11th day of May 2022, I electronically filed the foregoing

   by using the ECF system, which will send a notice of electronic filing to all counsel of record.



                                                       /s Richard C. McCrea, Jr.
                                                       Richard C. McCrea, Jr.
